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 3                                 UNITED STATES DISTRICT COURT
 4                                          DISTRICT OF NEVADA
 5                                                     ***
 6      UNITED STATES OF AMERICA,                            Case No. 2:16-cr-00155-JCM-CWH
 7                             Plaintiff,
                                                             ORDER
 8            v.
 9      CALVIN ROBINSON;
10                             Defendant.
11

12            Presently before the court is defendant Calvin Robinson’s Motion for Return of Property

13     (ECF No. 171), filed on May 2, 2018.

14            Under Local Rule IA 11-6(a), “[a] party who has appeared by attorney cannot while so

15     represented appear or act in this case. This means that once an attorney makes an appearance on

16     behalf of a party, that party may not personally file a document with the court; all filings must

17     thereafter be made by the attorney.” Defendant is currently represented by attorney Mark D.

18     Eibert. The court therefore will deny the motion without prejudice. Defendant is advised that all

19     filings in his case must be made by his attorney.

20            IT IS THEREFORE ORDERED that defendant Calvin Robinson’s Motion for Return of

21     Property (ECF No. 171) is DENIED without prejudice.

22

23            DATED: May 3, 2018

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25                                                           C.W. HOFFMAN, JR.
                                                             UNITED STATES MAGISTRATE JUDGE
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